      Case 3:22-cv-00211-SDD-SDJ             Document 260-1        08/25/23 Page 1 of 14




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,
                                                    Civil Action No. 3:22-cv-00211-SDD-SDJ
               v.

                                                    Chief Judge Shelly D. Dick
KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,
                                                    Magistrate Judge Scott D. Johnson

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,
                                                    Consolidated with
               v.                                   Civil Action No. 3:22-cv-00214-SDD-SDJ


R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,


                     Defendant.

 DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR EMERGENCY MOTION
               TO CANCEL HEARING ON REMEDY AND
             TO ENTER A SCHEDULING ORDER FOR TRIAL

       Attorney General Jeff Landry, on behalf of the State of Louisiana, Secretary of State Kyle

Ardoin, Clay Schexnayder, Speaker of the Louisiana House of Representatives, and Patrick Page

Cortez, President of the Louisiana Senate, each in their respective official capacities (collectively

“Defendants”) present this Memorandum in Support of their Motion to Cancel Hearing on Remedy

and to Enter a Scheduling Order for a Trial on the Merits. Due to the fast-approaching hearing, a

response by Plaintiffs is respectfully requested by Wednesday, August 30th, and a decision is
      Case 3:22-cv-00211-SDD-SDJ             Document 260-1       08/25/23 Page 2 of 14




respectfully requested by Friday, September 8th. A companion motion for expedited review will

be filed shortly after the instant motion.

                                  RELEVANT BACKGROUND

       On July 17, 2023, the Court ordered “that the preliminary injunction hearing stayed by the

United States Supreme Court, and which stay has been lifted, be and is hereby reset to October 3-

5, 2023, at 9:00 a.m.” (ECF No. 250). The Court further directed that “[t]he parties shall meet and

confer and jointly submit a proposed pre-hearing scheduling order on or before Friday July 21,

2023.” Id. The parties met and conferred in good faith and were unable to reach complete

agreement with respect to a schedule to govern the remedial proceeding. Therefore, the Plaintiffs

and the Defendants each filed their own proposed scheduling orders. See (ECF Nos. 255 & 256).

Meanwhile, on August 22, 2023, the United States Court of Appeals for the Fifth Circuit set

Defendants’ appeal of the underlying preliminary injunction order for oral argument on October

6, 2023, Robinson v. Ardoin, No. 22-30333 (5th Cir.), the day after the conclusion of the scheduled

remedial proceeding.

       As of the time of this filing, the Court has yet to issue a scheduling order in this matter

despite the proposed schedules being submitted over 35 days ago. Many of the proposed deadlines

in Plaintiffs’ and Defendants’ schedules have now passed.1 Plaintiffs, for their part, have not

sought to press their proposed schedule on the remedy phase and have not yet produced any expert

reports or disclosures, or any proposed remedial plans, even though their own proffered deadlines

have passed. (ECF No. 255 at 5). Given the significant delay on an already expected schedule,




1
 Plaintiffs’ proposed schedule had August 11th as the date the parties would submit “any proposed
plans” and as the deadline to exchange witness lists. (ECF No. 255 at 5). Defendants, jointly,
proposed August 4th as the deadline for Plaintiffs’ supplemental expert reports and disclosures
and August 18th as the date to exchange fact and witness lists. (ECF No. 255-2 at 1).


                                                2
      Case 3:22-cv-00211-SDD-SDJ              Document 260-1        08/25/23 Page 3 of 14




there is simply no longer sufficient time to conduct a remedial hearing on a timeframe sufficient

to sure the quality of presentations of counsel and the Court’s decision.

       The 2022 November Elections have come and gone, which means the premise for the

Plaintiffs’ twin preliminary injunction motions no longer exists. More to the point, any urgency

that there be a remedy now, before a trial on the merits, is also gone. The 2024 General Election,

however, is on the horizon, which, at roughly fourteen months away, means that the Court has

enough time to try this case to a final judgment—if it acts now to set a date for trial. This window

will close very soon if the Court declines to do so. And declining to do so would transgress the

Supreme Court’s mandate that this case is to proceed “for review in the ordinary course and in

advance of the 2024 congressional elections in Louisiana.” Ardoin v. Robinson, 143 S. Ct. 2654

(2023). For the reasons that follow, the Court should cancel the upcoming October remedial

proceeding and schedule a trial on the merits so that the litigants, and more importantly the people

of Louisiana, can have a final resolution of this continuing litigation.

                                           ARGUMENT

       While the Defendants appreciate the Court’s efforts to move this case to a speedy

resolution, the Defendants’ rights to a fair and full hearing no longer permit the proceedings to

move along the present path. The prejudice that the impending October 3rd remedial proceeding

has to the Defendants’ rights cannot be gainsaid. For more than forty years, the Supreme Court has

recognized that “where a federal district court has granted a preliminary injunction, the parties

generally will have had the benefit neither of a full opportunity to present their cases nor of a final

judicial decision based on the actual merits of the controversy.” Univ. of Tex. v. Camenisch, 451

U.S. 390, 396 (1981). This is true by virtue of the preliminary injunction mechanism (which

necessitates expedited, yet temporary, resolution, given the specter of a rapidly impending




                                                  3
      Case 3:22-cv-00211-SDD-SDJ              Document 260-1       08/25/23 Page 4 of 14




irreparable injury), and it is aggravated by the nature of Voting Rights Act litigation (which cannot

be resolved without tremendously detailed, and time-consuming, preparation and presentation of

expert testimony). Defendants have never been given the opportunity to make their case in defense

of the enacted maps fully, and denying them the opportunity to do so now, given the ability for

them to do so before the 2024 November Elections, would imperil the Defendants’ rights and call

into question the fundamental fairness of this litigation.

       The Defendants are aware that much needs to be accomplished between now and the 2024

November Elections to avoid another round of, among other things, Purcell fights and expedited

motions practice before this Court. Circumventing a repeat of the chaos leading up to the 2022

November Elections has motivated the Defendants to submit this request on an emergency basis.

The gravity of this litigation, the implications of the challenged congressional maps for the 2024

election and Defendants’ rights, as well as simple procedural fairness and federalism concerns,

should compel the Court to swiftly decide this motion in Defendants’ favor.

I.     There is now insufficient time to conduct a remedial proceeding by October 3rd,
       and allowing it to proceed would result in a waste of judicial resources.

       The Court’s remedial proceeding cannot practically occur as scheduled because none of

the lead-up events can occur as any of the parties envisioned. With fewer than 6 weeks before a

three-day hearing, there still is not a scheduling order, and no order embracing all necessary events

can be practically achieved.

       The parties each submitted their proposed schedules on July 21st, over a month ago, and

no scheduling order has been issued by the Court. In the meantime, many of the parties proposed

deadlines have already come and gone without a scheduling order. Moreover, Plaintiffs have not




                                                  4
      Case 3:22-cv-00211-SDD-SDJ              Document 260-1        08/25/23 Page 5 of 14




adhered to the case deadlines they themselves proposed.2 Thus, nothing has happened in this

remedial matter since the Supreme Court’s order vacated its stay. Defendants have yet to see any

disclosures or revised plan(s) from Plaintiffs. Defendants can hardly to begin to mount a cogent

defense when they are, at present, completely in the dark as to what plans Plaintiffs will even be

proffering and what expert opinions they intend to support them. There is now not enough time

for the necessary disclosures and expert reports in advance of the hearing, and if the Court were to

conduct it anyway, it would sacrifice the quality of presentations and, by consequence, the quality

of any future ruling..

       Conversely, the 2024 General Election is roughly fourteen months away. This is just

enough time to hold a trial on the merits and to allow the appellate process to run its course in

advance of those elections. In the expedited, chaotic world of redistricting litigation, the amount

of time that the Court has to allow both sides to fully and fairly litigate their positions is a luxury

that does not often arise, and it should not be squandered.

       The Plaintiffs themselves recognize that more robust litigation, certainly beyond the

proceedings that occurred during the 2022 preliminary injunction proceedings, is needed. That is

why they asked the Court for leeway to engage in “a more robust remedial process by allowing

[them] to incorporate new election data3 and accommodate concerns raised by Defendants in

opposition to the initial remedial map Plaintiffs proposed in 2022.” (ECF No. 256, at 2-3.) In other

words, the Plaintiffs recognize that more work needs to be done to account for the truncated

preliminary-injunction proceedings. For its part, the Supreme Court has long recognized that



2
  One would assume that, given their desire for a swift remedy, Plaintiffs would be acting of their
own volition absent an order from this Court to ensure, for their part, that any remedial proceeding
occurs along their preferred timeline. They are not.
3
  The existence of new election data that Plaintiffs themselves wish to rely upon simply
underscores the incomplete factual record exists in this case without a trial on the merits.


                                                  5
      Case 3:22-cv-00211-SDD-SDJ             Document 260-1        08/25/23 Page 6 of 14




redistricting litigation is an especially fact-intensive endeavor. See Allen v. Milligan, 143 S. Ct.

1487, 1503 (2023) All of these issues point to the inescapable conclusion that a remedial hearing

should be cancelled and a trial set. Yet another rushed proceeding is simply not in the interest of

the parties or of substantial justice.

        The Defendants would be remiss if they also did not point out that the Plaintiffs’ proposed

scheduling order, if entered near the time it was filed, would exacerbate tremendously all of the

issues the Defendants have identified in this motion. The Plaintiffs have insisted on (1) barreling

past a decision on the merits of their claims to the remedial phase, (2) submitting brand-new

remedial maps and expert reports, but (3) not providing those materials in time for the Defendants

to properly assess and respond to them. These concerns are now further exacerbated by the fact

that the parties generally, and the Defendants specifically, have lost a month of time to prepare for

the remedial hearing that is scheduled less than 6 weeks from now because no scheduling order

has been entered and Plaintiffs have sat on their hands instead of voluntarily complying with their

proposed deadlines. Any scenario short of cancelling the hearing and setting this matter for trial

will result in the abridgement of Defendants’ rights and a violation of basic principles of

federalism. In no uncertain terms, the Court should prevent this outcome.

        The United States Court of Appeals for the Fifth Circuit has set Defendants’ appeal of the

underlying preliminary injunction order for oral argument on October 6, 2023, Robinson v. Ardoin,

No. 22-30333 (5th Cir.). That is the day after the conclusion of the scheduled remedial proceeding,

which is currently set for October 3-5, 2023. The Fifth Circuit’s scheduling of oral argument on

October 6 is yet another reason for this Court to cancel the remedial proceedings. The timing of

oral argument—just nine days after the conclusion of supplemental briefing the Fifth Circuit

requested—suggests the Fifth Circuit is prepared to rule quickly on the merits of the preliminary




                                                 6
      Case 3:22-cv-00211-SDD-SDJ              Document 260-1        08/25/23 Page 7 of 14




injunction. That forthcoming ruling could have any number of different impacts on this matter,

including a reversal which would negate the need for any remedial phase on the preliminary

injunction. This Court should instead focus resources on the ultimate merits questions in this case

and set this matter for a trial sufficiently in advance of next year’s elections. By proceeding forward

with a remedy phase on a preliminary injunction order that is currently on appeal, and with a

decision from the Fifth Circuit seemingly forthcoming, this Court risks a complete waste of judicial

resources at both levels.

II.    Forgoing resolution of the merits via a final trial is fundamentally unfair to
       Defendants and is disrespectful to basic principles of federalism.

       Declining to resolve the merits of the Plaintiffs’ Section 2 claims by way of a full trial

would inflict further constitutional injury on the Defendants. Defendants have not yet had the

opportunity to fully and fairly litigate the merits of its enacted maps, given the remarkably

expedited preliminary injunction proceedings that occurred back in late Spring 2022. This alone

raises basic fairness concerns if the Court moves past the merits and onto considerations of a

remedy.

       To be certain, it is error to “improperly equate[] ‘likelihood of success’ with ‘success,’”

and it is an even more erroneous error to “ignore[] the significant procedural differences between

preliminary and permanent injunctions.” Camenisch, 451 U.S. at 394. “The purpose of a

preliminary injunction is merely to preserve the relative positions of the parties until a trial on the

merits can be held.” Id. at 395 (emphasis added). “Given this limited purpose, and given the haste

that is often necessary if those positions are to be preserved, a preliminary injunction is customarily

granted on the basis of procedures that are less formal and evidence that is less complete than in a

trial on the merits.” Id. Indeed, “[a] party . . . is not required to prove his case in full at a




                                                  7
      Case 3:22-cv-00211-SDD-SDJ              Document 260-1        08/25/23 Page 8 of 14




preliminary-injunction hearing, . . . and the findings of fact and conclusions of law made by a court

granting a preliminary injunction are not binding at trial on the merits.” Id.

       In other words, the merits of this case have not yet been fully and fairly resolved. By

treating them as if they had been (i.e., by skipping past a final trial on the merits and moving on to

considerations of a remedy), the Court is at risk of prejudicing a State with nearly 3.5 million

voters4 preparing to cast ballots during a 2024 General Election cycle that is likely to see record-

level voter turnout. And this is no idle concern. For more than a century, the Supreme Court has

held that every defendant must be afforded “an opportunity to present” its defense and then to have

a “question” actually “decided” against it. Fayerweather v. Ritch, 195 U.S. 276, 299 (1904).

       Neither has occurred here. The Defendants were prevented from fulsomely defending their

case by virtue of the expedited preliminary-injunction proceedings, and the resulting preliminary-

injunction opinion from the Court did not fully resolve—and as a matter of law, could not have

fully resolved—the merits of the Plaintiffs Section 2 claims. Given the limited purpose of a

preliminary injunction (“merely to preserve the relative position of the parties until a trial on the

merits can be held”) they are often considered “on the basis of procedures that are less formal and

evidence that is less complete than in a trial on the merits.” Camenisch, 451 U.S. at 395. “[A]t the

preliminary injunction stage, the court is called upon to assess the probability of the plaintiff’s

ultimate success on the merits” and “[t]he foundation for that assessment will be more or less

secure” depending upon multiple factors, including the pace at which the preliminary proceedings

were decided. Sole v. Wyner, 551 U.S. 74, 84-85 (2007) (emphasis added). Simply put, deciding

that a claim is “likely to succeed” is not the same as “actually litigat[ing] and resolv[ing]” a claim.



4
 Louisiana has a voting age population estimate of 3,564,038. Federal Register, Estimates of the
Voting Age Population for 2020, https://www.federalregister.gov/documents/2021/05/06/2021-
09422/estimates-of-the-voting-age-population-for-2020 (last accessed August 24, 2023).


                                                  8
      Case 3:22-cv-00211-SDD-SDJ               Document 260-1         08/25/23 Page 9 of 14




Taylor v. Sturgell, 553 U.S. 880, 892 (2008). And providing a remedy for a claim that has not yet

been “actually litigated and resolved” amounts to a violation of the basic rights of litigants. Id.

          There is, moreover, the changing legal landscape in the wake of Allen v. Milligan and

Students for Fair Admission v. University of North Carolina, both of which the Supreme Court

issued while this case was held in abeyance. In the former, the Supreme Court addressed Section

2 of the Voting Rights Act for the first time in fourteen years, and it clarified how the Gingles

preconditions apply. Relevant to this case, the Supreme Court elucidated “how traditional

districting criteria limit[] any tendency of the VRA to compel proportionality,” id. at 1509, which

means that the district court’s reliance (in part) on a proportionality as a legitimate goal is no longer

tenable and must be revisited. See Robinson v. Ardoin, 605 F. Supp. 3d 759, 851 (M.D. La. 2022).

Milligan also emphasized the centrality of communities of interest in the Section 2 analysis, which

has featured prominently at every stage of this case. See 143 S. Ct. at 1505. And Justice

Kavanaugh’s concurring opinion in Milligan stressed that it is the compactness of the minority

community—not solely the compactness of the proposed districts—that must be evaluated. Id. at

1518 (Kavanaugh, J., concurring).

          The latter case, in turn, changed fundamentally the way in which States may consider race

when taking state action. The Students for Fair Admissions Court underscored that as race-based

legislative acts reach their intended ends, they become obsolete and less likely to survive Equal

Protection scrutiny. This principle followed the Court’s decision in Shelby County v. Holder,

which struck as unconstitutional a different Voting Rights Act provision because “[o]ur country

has changed, and while any racial discrimination in voting is too much, Congress must ensure that

the legislation it passes to remedy that problem speaks to current conditions.” 570 U.S. 529, 557

(2013).




                                                   9
       Case 3:22-cv-00211-SDD-SDJ              Document 260-1         08/25/23 Page 10 of 14




        Simply put, the merits of this case (particularly given the changing legal landscape) remain

live. So long as they do, there can be no remedy imposed.

III.    The Court has no jurisdiction to proceed with a remedial hearing stemming from a
        preliminary injunction that is now moot.

        Mootness typically arises if an Article III-required injury-in-fact ceases. But it also arises

if time has rendered a court unable to remedy a purported injury. Injunctive relief, moreover, is

necessarily and solely prospective. What matters is that the Plaintiffs are no longer “likely to suffer

irreparable harm in the absence of preliminary relief.” Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008).

It follows inexorably that the Court has no power to hold a hearing about a remedial injunction if

the event purporting requiring the injunction has come and gone. The Plaintiffs filed motions

seeking injunctive relief based on their argument that conducting the 2022 November Elections

under the auspices of Louisiana’s enacted congressional map would inflict an irreparable injury

upon them unless the Court granted their requested relief before the 2022 November Elections.

The 2022 congressional elections, however, were held nine months ago. Because the Court can no

longer provide a remedy related to the 2022 November Elections, it has no power to “reset” a

previously stayed remedial hearing. (ECF No. 250.) Instead, the only option available to the Court

is to set a trial date to fully and fairly resolve the merits of their claims.

                                            CONCLUSION

        There is no legally defensible reason to allow the now-moot preliminary-injunction order

to control final resolution of the Plaintiffs’ claims on the merits. The Court no longer has

jurisdiction to issue the relief sought by the Plaintiffs in their preliminary-injunction motions. The

truncated timeline under which those motions were adjudicated prejudiced the Defendants’ rights,

and it would prejudice them further if the Court were to transmogrify its preliminary-injunction

“likelihood of success on the merits” conclusion into a final resolution of the Plaintiffs’ Section 2



                                                    10
      Case 3:22-cv-00211-SDD-SDJ            Document 260-1       08/25/23 Page 11 of 14




claims. Finally, the over month long delay (and counting) in setting a schedule and inaction by the

Plaintiffs has further prejudiced Defendants such that it is simply not possible to have a remedial

hearing.

        For all these reasons, the Court should vacate its preliminary-injunction hearing and set a

date for a final trial in this matter.




                                                11
     Case 3:22-cv-00211-SDD-SDJ           Document 260-1         08/25/23 Page 12 of 14




       Respectfully submitted this the 25th day of August, 2023.

 /s/ John C. Walsh                              /s/ Phillip J. Strach
 John C. Walsh, LA Bar Roll No. 24903           Phillip J. Strach*
 SHOWS, CALL & WALSH, L.L.P                     phillip.strach@nelsonmullins.com
 Batton Rouge, LA 70821                             Lead Counsel for Secretary Ardoin
 Ph: (225) 383-1461                             Thomas A. Farr*
 Fax: (225) 346-5561                            tom.farr@nelsonmullins.com
 john@scwllp.com                                John E. Branch, III*
                                                john.branch@nelsonmullins.com
                                                Alyssa M. Riggins*
                                                alyssa.riggins@nelsonmullins.com
                                                Cassie A. Holt*
                                                cassie.holt@nelsonmullins.com
                                                NELSON MULLINS RILEY &
                                                SCARBOROUGH LLP
                                                4140 Parklake Avenue, Suite 200
                                                Raleigh, NC 27612
                                                Ph: (919) 329-3800

                                                * admitted pro hac vice

                                                Counsel for Defendant R. Kyle Ardoin, in his
                                                official capacity as Secretary of State of
                                                Louisiana


/s/ Michael W. Mengis                              /s/ Erika Dackin Prouty
Michael W. Mengis, LA Bar No. 17994                Erika Dackin Prouty*
BAKERHOSTETLER LLP                                 BAKERHOSTETLER LLP
811 Main Street, Suite 1100                        200 Civic Center Dr., Ste. 1200
Houston, Texas 77002                               Columbus, Ohio 43215
Phone: (713) 751-1600                              (614) 228-1541
Fax: (713) 751-1717                                eprouty@bakerlaw.com
Email: mmengis@bakerlaw.com
                                                   Counsel for Legislative Intervenors, Clay
E. Mark Braden*                                    Schexnayder, in his Official Capacity as
Katherine L. McKnight*                             Speaker of the Louisiana House of
Richard B. Raile*                                  Representatives, and of Patrick Page Cortez, in
BAKERHOSTETLER LLP                                 his Official Capacity as President of the
1050 Connecticut Ave., N.W., Ste. 1100             Louisiana Senate
Washington, D.C. 20036
(202) 861-1500
mbraden@bakerlaw.com
kmcknight@bakerlaw.com
rraile@bakerlaw.com


                                              12
     Case 3:22-cv-00211-SDD-SDJ    Document 260-1        08/25/23 Page 13 of 14




Patrick T. Lewis*
BAKERHOSTETLER LLP
127 Public Square, Ste. 2000
Cleveland, Ohio 44114
(216) 621-0200
plewis@bakerlaw.com

* Admitted pro hac vice




                                           Jeff Landry
                                           Louisiana Attorney General

Jason B. Torchinsky (DC 976033)*           /s/Angelique Duhon Freel
Phillip M. Gordon (DC 1531277)*            Elizabeth B. Murrill (LSBA No. 20685)
Holtzman Vogel Baran                       Shae McPhee (LSBA No. 38565)
Torchinsky & Josefiak, PLLC                Morgan Brungard (CO Bar No. 50265)*
15405 John Marshall Highway                Angelique Duhon Freel (LSBA No. 28561)
Haymarket, VA 20169                        Carey Tom Jones (LSBA No. 07474)
(540) 341-8808 phone                       Jeffrey M. Wale (LSBA No. 36070)
(540) 341-8809 fax                         Office of the Attorney General
jtorchinsky@holtzmanvogel.com              Louisiana Department of Justice
pgordon@holtzmanvogel.com                  1885 N. Third St.
*admitted pro hac vice                     Baton Rouge, LA 70804
                                           (225) 326-6000 phone
                                           (225) 326-6098 fax
                                           murrille@ag.louisiana.gov
                                           freela@ag.louisiana.gov
                                           walej@ag.louisiana.gov
                                           jonescar@ag.louisiana.gov
                                           mcphees@ag.louisiana.gov
                                           brungardm@ag.louisiana.gov

                                           Counsel for Defendant, State of Louisiana




                                      13
     Case 3:22-cv-00211-SDD-SDJ             Document 260-1          08/25/23 Page 14 of 14




                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 25th day of August 2023, the foregoing has been filed with the
Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                              /s/ Jeffrey M. Wale
                                              Jeffrey M. Wale




                                                14
